
STEAGALL, Justice
(concurring in part and dissenting in part).
I agree with the dissent of then-Chief Justice Heflin and Justice Jones in Avondale Mills v. Saddler, 292 Ala. 134, 139, 290 So.2d 173, 176-77 (1974), in which they stated, in part:
“Contributions by an employer, as here, to a Retirement Trust are part of wages earned and withheld for later payments and may be analogized to pro rata rights of employees to vacation and severance pay, for which they have not been permitted to qualify completely by the closing of their place of employment without fault of the employees. Lucas v. Seagrave, D.C., 277 F.Supp. 338 [(D.C.Minn.1967) ].”
I, therefore, respectfully dissent from that part of the judgment and opinion relating to the class I plaintiffs. I concur in that part of the judgment and opinion relating to the class II plaintiffs.
